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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                      Case No. 1:97-cr-76

v.                                                            HON. JANET T. NEFF

JUWELL DARNELL CASTLEBERRY,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Juwell Darnell Castleberry has filed a motion for modification or reduction of

sentence (Dkt 614) pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug

Quantity Table with respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States Sentencing

Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to cocaine base (crack

cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November

1, 2011. U.S.S.G. § 1B1.10(c).

       However, the defendant is not entitled to relief on the facts of his case. The base offense

level was determined by the Career Offender enhancement of § 4B1.1 of the U.S.S.G. as confirmed

by this Court’s review of the sentencing documents relevant to defendant’s case; therefore, the

retroactive guideline dealing with crack amounts does not result in a lower guideline range. See

United States v. Perdue, 572 F.3d 288, 292 (6th Cir. 2009).
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 614) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




DATED: March 19, 2012                            /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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